         Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 1 of 13




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

NALEX ENERGY, LLC                                          §
    Plaintiff,                                             §
                                                           §
VS.                                                        §
                                                           §       Civ. No. 4:22-cv-01824
LAURITZEN BULKERS A/S,                                     §       FED. R. CIV. P. 9(h)
J. LAURITZEN (U.S.A.), INC.,                               §       Admiralty Claim
J. LAURITZEN A/S AND                                       §
DEAL ENERGY A/S                                            §
      Defendants.                                          §

                       DEFENDANT LAURITZEN BULKERS A/S’ ANSWER
                        TO THE VERIFIED ORIGINAL COMPLAINT AND
                                    COUNTERCLAIM

           Defendant Lauritzen Bulkers A/S (“Lauritzen”)1 in answer to the Verified Original Complaint (the

    “Complaint”) respectfully would show the Court as follows.

                                           Jurisdiction and Venue

         1.      Admits the allegations contained in paragraph 1 of the Complaint.

         2.      Admits that venue for this civil action is proper in this judicial district pursuant to 28

U.S.C. § 1391(b) in answer to paragraph 2 of the Complaint.

                                                      Parties

         3.      Admits the allegations contained in paragraph 3 of the Complaint.

         4.      In response to paragraph 4 of the Complaint, admits that defendant Lauritzen is a

foreign business entity organized under the laws of Denmark and located at 15 Tuborg Havnevej

2900 Hellerup, Denmark, that Defendant Lauritzen is engaged in business as a charterer and operator

of bulk carriers which call at Texas ports, was the charterer of the M/V SHANGHAI at all times


1
 Plaintiff Nalex and Defendant Lauritzen are working on a stipulation that would dismiss the Verified Original
Complaint against Defendants J. Lauritzen (U.S.A.), Inc., J. Lauritzen A/S, and Deal Energy A/S on a without prejudice
basis. A Stipulation to that effect is being reviewed and the parties anticipate filing it with the Court shortly.
                                                           1
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 2 of 13



material to this Complaint, and procured the bunkers for which payment has been made by Defendant

Lauritzen under protest and without prejudice, further that Defendant Lauritzen does not maintain a

regular place of business or a designated agent upon whom service of process may be had, but except

as so specifically admitted herein, denies the remaining allegations in paragraph 4 of the Complaint.

Defendant Lauritzen has signed a waiver of service of process pursuant to Rule 4, Federal Rules

of Civil Procedure and therefore, formal service of process on defendant is not required and the

allegations regarding formal service of process need not be answered. Since Defendant Deal Energy

A/S has been or will be dismissed from the action on agreement of Plaintiff and Defendant Lauritzen,

the allegations regarding Deal Energy A/S need not be answered.

       5.      Defendants J. Lauritzen (U.S.A.), Inc. and J. Lauritzen A/S have been or will be

dismissed from the action on agreement of Plaintiff and Defendant Lauritzen, the allegations

regarding Defendants J. Lauritzen (U.S.A.), Inc. and J. Lauritzen A/S need not be answered.

                                        Factual Background

       6.      Admits that Nalex brought this action to recover amounts allegedly due and owing to

it under a maritime contract with Lauritzen for the supply of marine fuel oil (known in the marine

industry as “bunkers”) to the M/V SHANGHAI (IMO: 9220988) (hereinafter the “SHANGHAI” or

“the Vessel”), but except as so specifically admitted herein, denies the remaining allegations

contained in paragraph 6 of the Complaint.

            Nalex and Lauritzen entered into a contract for the supply of bunkers.

       7.      Admits the allegations contained in paragraph 7 of the Complaint.

       8.      Admits the allegations contained in paragraph 8 of the Complaint.

       9.      Admits that Nalex’s General Terms govern the parties’ rights with respect to the

subject bunker delivery, that section 1.2 of Nalex’s General Terms defines the term “Buyer” to mean “the

party and/or parties contracting to buy products and/or services as set out in the Seller’s Confirmation
                                                    2
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 3 of 13



of Order for Products and/or Services, including its servants, agents, brokers, designated

representatives, subsidiaries or affiliates wherever applicable.” Ex. 3, General Terms, p. 1, art 1.2,

that the Confirmation Order provides that “Lauritzen Bulkers A/S” is the “buyer” for the subject

sale of bunkers. Ex. 2, that pursuant to Section 7.14, Lauritzen also warranted that it had express

authority from the Vessel’s owner to purchase the bunkers. Ex. 3, General Terms, p. 1, art 7.14., but

except as so specifically admitted herein, denies the remaining allegations contained in paragraph 9

of the Complaint.

         10.   Admits that the Confirmation Order requires payment for the bunkers within 30

calendar days of delivery and provides for the accrual of interest on any late payment. Ex. 2,

General Terms, p. 6, art 9.4, that Nalex’s General Terms state that “[t]imely payment is of the

essence. [Nalex] shall be absolutely entitled to the payment in full without discount,

reduction, counterclaim or set off (whether legal or equitable)” Id., art. 9.1, that Nalex’s

General Terms further provide that “.    Buyer shall not be entitled without Seller’s consent

in writing, to offset any amounts for claims against seller, whether or not these claims are connected,

and whether or not they arise out of the contract.” Id., art. 9.2, but except as so specifically admitted

herein, denies the remaining allegations contained in paragraph 10 of the Complaint.

                               Nalex supplies bunkers to the SHANGHAI

       11.     Admits the allegations contained in paragraph 11 of the Complaint.

       12.     Denies knowledge or information sufficient to believe the truth of the matters

asserted in paragraph 12 of the Complaint and therefore, denies the allegations contained in

paragraph 12 of the Complaint.

       13.     Admits that a Marine Fuel Delivery Receipt (hereinafter “BDN”) was signed by the

Vessel’s Chief Engineer and stamped with the seal of the Vessel acknowledging receipt of the

subject bunkers. Ex. 4, Marine Fuel Delivery Receipt and that the BDN also provides the seal
                                              3
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 4 of 13



numbers for the above-described fuel samples obtained, but except as so specifically admitted

herein, denies the remaining allegations contained in paragraph 12 of the Complaint.


                     Lauritzen complains about the quality of the bunkers

       14.     Admits that on April 30, 2022, Lauritzen advised Nalex that the Vessel’s owners

testing of the supplied bunkers shows cat fines above the tolerable limits of ISO 8217, that the Vessel

owner’s test results indicated that the aluminum and silicone levels, typically combined to determine

the content level of cat fines, were above the tolerable amount of 60mg/kg, and that the sample tested

by the Vessel’s owners selected laboratory was collected from the Vessel’s inlet manifold by

continuous drip sample method, but except as so specifically admitted herein, denies the remaining

allegations contained in paragraph 14 of the Complaint.


       15.     Denies knowledge or information sufficient to form a belief as to the truth of the

matters asserted in paragraph 15 of the Complaint, but except as so denied, admits that Lauritzen

requested a further testing of a bunker sample with a full ISO specification.

       16.     Admits that Lauritzen requested that Nalex suggest an independent laboratory that

can complete joint testing of one of the representative samples indicated on the BDN and that Nalex

responded to Lauritzen by proposing AmSpec, Camin Cargo, or Inspectorate as the laboratory to

conduct final and binding testing of aluminum and silicone from a representative sample, but except

as so specifically admitted herein, denies the remaining allegations contained in paragraph 16 of the

Complaint.

       17.     Admits the allegations contained in paragraph 17 of the Complaint.

       18.     Admits that Section 5.4 of Nalex’s General Terms provides in part: “Where

reasonably practical, the samples shall be taken in accordance with ISO-8217, but shall otherwise

be taken at a point and in a manner chosen by Seller or its representative.” See Ex. 3, and that

                                                    4
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 5 of 13



Paragraph 4 of ISO-8217 provides that “samples for quality verification may be taken in any location

agreed between the parties,” but except as so specifically admitted herein, denies the remaining

allegations in paragraph 18 of the Complaint.

       19.      Denies the allegations contained in paragraph 19 of the Complaint.

       20.      Denies the allegations contained in paragraph 20 of the Complaint and that Lauritzen

agreed that the test results would be final and binding on the parties, but except as so denied herein,

admits that Lauritzen advised, “As to the test results being final and binding, we can deal with same

as per the supply contract terms.”

             AmSpec’s final and binding analysis confirms the bunkers are on-spec

       21.      Admits that upon receipt of AmSpec’s analysis, Lauritzen advised Nalex that the

Vessel would like to perform additional testing on the representative sample and also perform further

testing of samples obtained from the vessel manifold, that Nalex rejected Lauritzen’s proposal for

additional testing, that Nalex reiterated that Amspec’s analysis is final and binding on the parties,

that Nalex rejected Lauritzen’s proposal for additional testing, and that Nalex reiterated that

AmSpec’s analysis is final and binding on the parties, and advised Lauritzen that it considered the

claim closed, but except as so specifically admitted herein, denies that AmSpec’s analysis was final

and binding on the parties and denies the remaining allegations contained paragraph 21 of the

Complaint.

       22.      Denies that AmSpec’s analysis was final and binding on the parties and denies the

allegations contained in paragraph 22 of the Complaint.

       23.      Admits that section 5.6 of Nalex’s General Terms provide that “[u]nless otherwise

agreed to in writing by Seller, only samples provided by Seller to Buyer at the time of delivery shall

be deemed representative of the Product delivered,” and that section 5.5 provides that “[i]f . . . no

agreement has been reached by the two parties, Seller reserves the right to have one its retained
                                               5
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 6 of 13



sealed samples independently analyzed and for the results to be final and binding upon both parties,”

but except as so specifically admitted herein, denies that the AmSpec analysis was final and binding

on the parties and denies the remaining allegations contained in paragraph 23 of the Complaint.

                           Lauritzen is in breach of its contract with Nalex

       24.     Admits that the purchase price of the subject bunkers was $249,804.58, but except as so

specifically admitted herein, denies the remaining allegations contained in paragraph 24 of the

Complaint.

       25.     Admits that payment for the bunkers was duly demanded by Nalex, but except as so

specifically admitted herein, denies the remaining allegations contained in paragraph 25 of the

Complaint. On or about July 28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest

and without prejudice to any of its rights and/or defenses.



                        Breach of Maritime Contract against Lauritzen

       26.     Lauritzen repeats, re-alleges, and incorporates as if fully set forth herein, the foregoing

paragraphs.

       27.     Admits that Lauritzen and Nalex entered into a contract for the purchase and delivery

of bunkers to its chartered vessel and that Nalex provided bunkers to the M/V SHANGHAI pursuant

to the terms of the Confirmation Order and its General Terms, but except as so specifically admitted

herein, denies the remaining allegations contained in paragraph 27 of the Complaint. On or about July

28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest and without prejudice to any

of its rights and/or defenses.

                   Unjust Enrichment/Quantum Meruit against Lauritzen

       28.     Lauritzen repeats, re-alleges, and incorporates as if fully set forth herein, the foregoing

paragraphs.
                                                    6
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 7 of 13



       29.     Denies the allegations contained in paragraph 29 of the Complaint. On or about July

28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest and without prejudice to

any of its rights and/or defenses.

       30.     Denies the allegations contained in paragraph 30 of the Complaint. On or about July

28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest and without prejudice to

any of its rights and/or defenses.

                     Suit on Account against Lauritzen and Deal Energy

       31.     Lauritzen repeats, re-alleges, and incorporates as if fully set forth herein, the foregoing

paragraphs.

       32.     Denies the allegations contained in paragraph 32 of the Complaint. On or about July

28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest and without prejudice to

any of its rights and/or defenses.

       33.     Denies the allegations contained in paragraph 33 of the Complaint. On or about July

28, 2022, Lauritzen paid the sum of $249,804.58 to Nalex under protest and without prejudice to

any of its rights and/or defenses.

                                       Conditions Precedent

      34.      Denies the allegations contained in paragraph 34 of the Complaint (improperly

numbered 30 in the original Complaint).



  Reservation of Claims against the M/V SHANGHAI, in rem, pursuant to Rule C of the
                          Supplemental Admiralty Rules


       35.     Denies the allegations contained in paragraph 35 of the Complaint (improperly

numbered 31 in the original Complaint). On or about July 28, 2022, Lauritzen paid the sum of

$249,804.58 to Nalex under protest and without prejudice to any of its rights and/or defenses. Any
                                                    7
       Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 8 of 13



maritime lien that may have existed against the M/V SHANGHAI was extinguished by payment of

the underlying debt upon which Nalex’s claim is based.

                                                Waiver

       36.     Denies the allegations contained in paragraph 36 of the Complaint (improperly

numbered 32 in the original Complaint).

                                 FIRST AFFIRMATIVE DEFENSE

       37.     The Complaint fails to state a claim upon which can be granted.

                               SECOND AFFIRMATIVE DEFENSE

       38.     Nalex’s claim which is the subject of this action has been extinguished by payment of

the claim by Lauritzen on or about July 28, 2022, under protest and without prejudice to any of its

rights and/or defenses.

                     LAURITZEN’S COUNTERCLAIM AGAINST NALEX

         Defendant Lauritzen, as and for a Counterclaim against Plaintiff Nalex, alleges as follows:

       39.     Lauritzen repeats, re-alleges, and incorporates as if fully set forth herein, the foregoing

paragraphs.

       40.     At the time the Nalex bunkers were supplied, the M/V SHANGHAI (the “Vessel”) was

under time charter to Lauritzen. One of Lauritzen’s obligations under the time charter was to purchase

bunkers to operate the Vessel between the various ports for which it was chartered to carry cargo.

       41.     In its Counterclaim, Lauritzen seeks compensation for the supply by Nalex of marine

fuel oil (commonly referred to as “bunkers”) to the Vessel that did not meet the contractual

specification for two parameters, aluminum and silicon (together referred to a “catfines”).

       42.     The contractual specification for catfines is contained in the international standard ISO

                                                    8
      Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 9 of 13



8217:2017, which provides for a maximum permissible content for catfines (i.e., aluminum + silicon)

of 60 mg/kg.

       43.     During the physical delivery of the bunkers from the Kirby Marine bunker barge 27735

via hose to the Vessel’s bunker intake manifold, the Vessel took continuous drip samples of the

bunkers. Two of the continuous drip samples taken at the Vessel’s bunker intake manifold on the date

of delivery, April 25, 2022, were analyzed and indicated a catfines content far in excess of the

maximum permissible by ISO 8217:2017 – 118 mg/kg (Intertek Lintec Fuel Quality Report – Ex. A

attached) and 102 mg/kg (Intertek Caleb Brett – Ex. B attached) versus 60 mg/kg permitted by the ISO

standard. A third sample taken from bunker tank no. 3S after the bunkers supplied by Nalex had been

taken on board the Vessel were analyzed and also indicated a catfines content well in excess of the

maximum permissible – 99 mg/kg (Intertek Caleb Brett – Ex. C attached). The analyses of these

samples clearly show that the bunkers supplied by Nalex were off-specification for catfines by

significant amounts.

       44.     In its Complaint, Nalex relies on two laboratory analyses for the proposition that the

bunkers supplied to the Vessel were on-specification because the catfines content was 17 ppm

(AmSpec 5/2/22) for one of the bunker samples (seal # 1191919) from the Kirby Marine barge (Dkt.

No. 1-7) and the catfines content was 34 ppm (Intertek Caleb Brett 5/5/22) for a second bunker sample

(seal #1191918) from the Kirby barge (Dkt. No. 1-5). Both of the results – 17 ppm and 34 ppm – were

less than the 60 mg/kg maximum permitted under the ISO standard.

       45.     In October 2022, bunker samples (seal # 0153995 and # 1191920) from the Kirby

Marine barge were analyzed with the results of 31 ppm and 30 ppm respectively for catfine content

(Exs. D and E). These results were similarly less than the maximum permitted under the ISO standard.

       46.     What the test results from all of these analyses indicate is that all four Kirby Marine

                                                  9
      Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 10 of 13



barge samples were found to be outside the reproducibility of the Vessel manifold drip samples,

indicating that the barge samples were significantly different than the Vessel manifold samples in

regard to catfine content.

       47.     These analyses also showed that with the other parameters of the bunkers, based on

Table 2 of the ISO standard, being comparable between the Vessel bunker manifold and barge external

line samples, the barge external line bunker samples were underestimating the catfine content due to

the manner in which the barge samples were drawn. The significant difference in the catfine content

between the Vessel manifold samples and barge samples was due to (a) the barge external line samples

were likely spot samples (rather than continuous drip samples) and/or (b) the samples drawn from the

barge external line were not mixed properly prior to sub-sampling.

       48.     As a result, the bunkers that were actually received on the Vessel on April 25, 2022,

were off-specification because they did not comply with the ISO standard agreed in the contract

between Nalex and Lauritzen. Therefore, Nalex has breached the warranty that the bunkers supplied

would met the contractual specifications contained in the ISO standard.

       49.     Since the bunkers supplied by Nalex were off-specification, the Vessel refused to use

these bunkers as fuel for the Vessel’s engines for fear of causing damage to the engines and other

machinery aboard the Vessel.

       50.     Inasmuch as the Vessel did not have sufficient bunkers on board to reach the next cargo

port, the Vessel had to divert to Freetown, Bahamas and purchase replacement bunkers at a cost of

$248,200. The port costs of diverting the Vessel to Freetown to obtain replacement bunkers was

approximately $50,000. The Owners of the Vessel have sought to recover the cost of replacement

bunkers and port costs from Lauritzen in a separate proceeding.

       51.     Also, as a result of the Nalex bunkers being off-specification, Lauritzen was required

                                                  10
      Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 11 of 13



to retain marine surveyors and experts to determine the nature, cause, and extent of the off-

specification bunkers. The cost of these marine surveyors and experts is currently approximately

$15,000 and will increase as additional invoices for these services are received.

       52.     Since the off-specification bunkers could not be used on board the Vessel as marine

fuel, efforts were made in May 2022 to sell them in off-specification condition. No bunker or salvage

company showed an interest taking in these bunkers, except for one who agreed to de-bunker the

Vessel and take the off-specification bunkers for payment of $13,000 to do so. Thus, the bunkers

supplied by Nalex had no value as off-specification bunkers. The Owners of the Vessel have sought

to recover the $13,000 cost of de-bunkering the Nalex bunkers in a separate proceeding. In addition

to the cost of de-bunkering, the Vessel also lost time during the course of de-bunkering and related

time loss. The value of this lost time is $47,113.26 and Owners have claimed this amount from

Lauritzen in a separate proceeding.

       53.     Lauritzen is also entitled to damages for Nalex’s breach of warranty under the contract

to supply bunkers to the Vessel. The damages for breach of warranty by Nalex is the value of the

bunkers as warranted in the contract less the value of the bunkers as off-specification. In this instance,

the value of the bunkers as warranted would be $249,804.58, the price paid by Lauritzen, less the zero

value as off-specification bunkers. Therefore, Lauritzen is entitled to $249,804.58 in damages from

Nalex for breach of warranty on the sale of the bunkers to Lauritzen.

       54.     In sum, Lauritzen seeks to recover the following sums from Nalex:

               a.      $249,804.58 – see paragraph 53;

               b.      $248,200 + $50,000 – see paragraph 50;

               c.      $15,000 – see paragraph 51; and

               d.      $13,000 + $47,113.26 – see paragraph 52.
                                                    11
      Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 12 of 13



              TOTAL          $623,117.84



       WHEREFORE, Defendant Lauritzen Bulkers A/S prays that:

              a.      a judgment issue against Nalex and in favor of Lauritzen dismissing Nalex’s

Verified Original Complaint together with an award of costs and attorneys’ fees in favor of

Lauritzen;

              b.      a judgment issue against Nalex and in favor of Lauritzen awarding Lauritzen

$623,117.84 in damages on the Counterclaim plus interest, costs, and attorneys’ fees; and

              c.      the Court grant Lauritzen such other and further relief as it may see fit.



Dated: November 9, 2022



                                             Respectfully submitted,

                                             Lyons & Flood, LLP

                                             As Attorneys for Defendant Lauritzen Bulkers A/S

                                             /s/ Kirk M. Lyons
                                             Kirk M. Lyons
                                             Admitted Pro Hac Vice
                                             The Towers, Suite 206
                                             111 Great Neck Road
                                             Great Neck, NY 11021
                                             (212) 594-2400
                                             klyons@lyons-flood.com




                                                   12
     Case 4:22-cv-01824 Document 14 Filed on 11/09/22 in TXSD Page 13 of 13



                                     Certificate of Service

      The foregoing Answer with Counterclaim was served on all counsel of record via the Court’s
ECF system on November 9, 2022.

                                          /s/ Kirk M. Lyons
                                          Kirk M. Lyons




                                               13
